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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           )
In re:                                                     )    Chapter 11
                                                           )
LIGADO NETWORKS LLC, et al.,1                              )    Case No. 25-10006 (TMH)
                                                           )
                            Debtors.                       )    (Jointly Administered)
                                                           )

                              GLOBAL NOTES AND
                 STATEMENTS OF LIMITATIONS, METHODOLOGY,
           AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

General

            Ligado Networks LLC (“Ligado”) and certain of its affiliates, as debtors and debtors in
    possession (the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”),
    filed their respective Schedules of Assets and Liabilities (each, a “Schedule” and, collectively,
    the “Schedules”) and Statements of Financial Affairs (each, a “Statement” and, collectively,
    the “Statements” and, together with the Schedules, the “Schedules and Statements”) with the
    United States Bankruptcy Court for the District of Delaware (the “Court”). The Debtors, with
    the assistance of their legal and financial advisors, prepared the unaudited Schedules and
    Statements in accordance with section 521 of title 11 of the United States Code,
    11 U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”), Rule 1007 of the Federal Rules
    of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 1007-1 of the Local Rules of
    Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of
    Delaware (the “Local Rules”).

           These global notes and statements of limitations, methodology, and disclaimers
    regarding the Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are
    incorporated by reference in, and comprise an integral part of, all of the Schedules and
    Statements and should be referred to and referenced in connection with any review of the
    Schedules and Statements.2

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      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, as
      applicable, are: Ligado Networks LLC (3801); ATC Technologies, LLC (N/A); Ligado Networks (Canada)
      Inc. (N/A); Ligado Networks Build LLC (N/A); Ligado Networks Corp. (N/A); Ligado Networks Finance LLC
      (N/A); Ligado Networks Holdings (Canada) Inc. (N/A); Ligado Networks Inc. of Virginia (9725); Ligado
      Networks Subsidiary LLC (N/A); One Dot Six LLC (8763); and One Dot Six TVCC LLC (N/A). The Debtors’
      headquarters is located at: 10802 Parkridge Boulevard, Reston, Virginia 20191.
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      These Global Notes supplement, and are in addition to, any specific notes contained in each Debtor’s Schedules
      and Statements. The fact that the Debtors prepared a Global Note with respect to any of the individual Debtor’s
      Schedules and Statements and not to those of another should not be interpreted as a decision by the Debtors to
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        The Schedules and Statements are unaudited and reflect the Debtors’ reasonable efforts
to report certain financial information of each Debtor on a stand-alone, unconsolidated basis.
These Schedules and Statements neither purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor
are they intended to be fully reconciled with the financial statements of each Debtor.

        In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made commercially reasonable efforts to ensure the accuracy and completeness of
the Schedules and Statements, subsequent information or discovery may result in material
changes to the Schedules and Statements. As a result, inadvertent errors or omissions may exist.
Accordingly, the Debtors and their directors, managers, officers, agents, attorneys, financial
advisors, and other representatives and professionals do not guarantee or warrant the accuracy or
completeness of the data that is provided herein, and shall not be liable for any loss or injury
arising out of or caused in whole or in part by the acts, errors, or omissions, whether negligent or
otherwise, in procuring, compiling, collecting, interpreting, reporting, communicating, or
delivering the information contained herein or the Schedules and Statements. In no event shall
the Debtors or their directors, managers, officers, agents, attorneys, financial advisors, and other
representatives and professionals be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their directors, managers, officers, agents, attorneys, and financial advisors are advised of the
possibility of such damages.

        The Schedules and Statements have been signed by Brendan Boughton, Senior Vice
President, Finance & Treasurer of Ligado and its subsidiaries and an authorized signatory for
each of the Debtors. In reviewing the Schedules and Statements, Mr. Boughton has relied upon
the efforts, statements, advice, and representations of personnel of the Debtors and the Debtors’
advisors and other professionals. Given the scale of the Debtors’ business, Mr. Boughton has not
(and practically could not have) personally verified the accuracy of each statement and
representation in the Schedules and Statements, including, but not limited to, statements and
representations concerning amounts owed to creditors, classification of such amounts, and
creditor addresses.

       Subsequent receipt of information or an audit may result in material changes in financial
data requiring amendment of the Schedules and Statements. Accordingly, the Schedules and
Statements remain subject to further review and verification by the Debtors. The Debtors
reserve the right to amend the Schedules and Statements from time to time as may be necessary
or appropriate; provided, that the Debtors, their agents, and their advisors expressly do not
undertake any obligation to update, modify, revise, or recategorize the information provided
herein or to notify any third party should the information be updated, modified, revised, or
recategorized, except to the extent required by applicable law.


   exclude the applicability of such Global Note to any of the Debtors’ other Schedules and Statements, as
   appropriate.



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Global Notes and Overview of Methodology

1. Description of the Cases. On January 5, 2025 (the “Petition Date”), the Debtors filed
   voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors are
   authorized to operate their businesses and manage their properties as debtors in possession
   pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On January 7, 2025, the
   Court entered an order authorizing the joint administration of the cases pursuant to
   Bankruptcy Rule 1015(b) [Docket No. 89]. Notwithstanding the joint administration of the
   Debtors’ cases for procedural purposes, each Debtor has filed its own Schedules and
   Statements. On January 7, 2025, the Court entered an order authorizing Ligado Networks
   LLC to act as the foreign representative on behalf of Debtors’ estates in any judicial or other
   proceedings in a foreign country, including in those proceedings commenced in Canada
   [Docket No. 96].

2. Global Notes Control. Disclosure of information in one or more Schedules, one or more
   Statements, or one or more exhibits or attachments to the Schedules or Statements, even if
   incorrectly placed, shall be deemed to be disclosed in the correct Schedules, Statements,
   exhibits, or attachments. In the event that the Schedules and Statements differ from any of
   the Global Notes, the Global Notes shall control.

3. Reservation of Rights. Commercially reasonable efforts have been made to prepare and
   file complete and accurate Schedules and Statements; however, as noted above, inadvertent
   errors or omissions may exist. The Debtors reserve all rights to amend and supplement the
   Schedules and Statements as may be necessary or appropriate but do not undertake any
   obligation to do so, except to the extent required by applicable law. Nothing contained in
   the Schedules, Statements, or Global Notes shall constitute a waiver of rights with respect to
   these Chapter 11 Cases, including, but not limited to, any rights, claims, causes of action, or
   defenses the Debtors may have or hold against any third party or issues involving
   substantive consolidation, statutory or equitable subordination, and/or causes of action
   arising under the provisions of chapter 5 of the Bankruptcy Code and any other relevant
   non-bankruptcy laws to, among other things, recover assets or avoid transfers. Any specific
   reservation of rights contained elsewhere in the Global Notes does not limit in any respect
   the general reservation of rights contained in this paragraph.

       a.      No Admission. Nothing contained in the Schedules and Statements is intended
               as, or should be construed as, an admission or stipulation as to the validity of any
               claim against any Debtor or any assertion made therein or herein, or a waiver of
               any of the Debtors’ rights to dispute any claim or assert any cause of action or
               defense against any party.

       b.      Claims Listing and Descriptions. The listing of a claim does not constitute an
               admission of liability by the Debtors, and the Debtors reserve the right to amend
               the Schedules and Statements as necessary and appropriate, including but not
               limited to, with respect to the description, designation, or Debtor against which
               any claim against a Debtor is asserted. Any failure to designate a claim listed on
               the Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
               does not constitute an admission by the Debtors that such amount is not


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      “disputed,” “contingent,” or “unliquidated.” The Debtors reserve the right to
      dispute and to assert setoff rights, counterclaims, and defenses to any claim
      reflected on their Schedules and Statements on any grounds, including, but not
      limited to, amount, liability, priority, status, and classification, and to otherwise
      subsequently designate any claim as “disputed,” “contingent,” or “unliquidated”
      and object to the extent, validity, enforceability, priority, or avoidability of any
      claim (regardless of whether such claim is designated in the Schedules and
      Statements as “disputed,” “contingent,” or “unliquidated”).

c.    Recharacterization. The Debtors have made commercially reasonable efforts
      to correctly characterize, classify, categorize, and designate the claims, assets,
      executory contracts, unexpired leases, and other items reported in the Schedules
      and Statements. Nevertheless, due to the complexity of the Debtors’ business,
      the Debtors may not have accurately characterized, classified, categorized, or
      designated certain items and/or may have omitted certain items. Accordingly,
      the Debtors reserve all of their rights to recharacterize, reclassify, recategorize,
      or redesignate items reported in the Schedules and Statements at a later time as
      necessary or appropriate, including, without limitation, whether contracts or
      leases listed herein were deemed executory or unexpired as of the Petition Date
      and remain executory and unexpired on a postpetition basis.

d.    Classifications. The listing of (i) a claim (a) on Schedule D as “secured,” or
      (b) on Schedule E/F as either “priority” or “unsecured priority,” or (ii) a contract
      or lease on Schedule G as “executory” or “unexpired” does not constitute an
      admission by the Debtors of the legal rights of the claimant or contract
      counterparty, or a waiver of the Debtors’ rights to recharacterize or reclassify
      such claim or contract pursuant to a schedule amendment, claim objection, or
      otherwise. Moreover, although the Debtors may have scheduled claims of
      various creditors as secured claims for informational purposes, no current
      valuation of the Debtors’ assets in which such creditors may have a security
      interest has been undertaken. Except as provided in an order of the Court, the
      Debtors reserve all rights to dispute and challenge the secured nature or amount
      of any such creditor’s claims, the characterization of the structure of any
      transaction, and any document or instrument related to such creditor’s claim.

e.    Estimates and Assumptions. To prepare these Schedules and Statements and
      report information on an entity‑by‑entity basis, the Debtors were required to
      make certain reasonable estimates and assumptions with respect to the reported
      amounts of assets and liabilities, the amount of contingent assets and contingent
      liabilities, and the reported amounts of revenues and expenses as of the Petition
      Date. Actual results could differ from such estimates. The Debtors reserve all
      rights to amend the reported amounts of assets and liabilities to reflect changes
      in those estimates or assumptions.

f.    Causes of Action. Despite commercially reasonable efforts, the Debtors may
      not have identified and/or set forth all of their causes of action (filed or potential)
      against third parties as assets in their Schedules and Statements, including,


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      without limitation, avoidance actions arising under chapter 5 of the Bankruptcy
      Code and actions under other relevant bankruptcy and non-bankruptcy laws to
      recover assets. The Debtors reserve all rights with respect to any claim,
      controversy, demand, right, action, suit, obligation, liability, debt, account,
      defense, offset, power, privilege, license, lien, indemnity, guaranty, interest,
      damage, remedy, cause of action, proceeding, agreement, or franchise of any
      kind or character whatsoever, whether known or unknown, foreseen or
      unforeseen, existing or hereinafter arising, contingent or non-contingent,
      liquidated or unliquidated, secured or unsecured, assertable directly or
      derivatively, matured or unmatured, suspected or unsuspected, whether arising
      before, on, or after the Petition Date, in contract, in tort, at law, in equity, or
      otherwise (collectively, “Causes of Action”). Causes of Action also include:
      (i) all rights of setoff, counterclaim, or recoupment and claims under contracts or
      for breaches of duties imposed by law or in equity; (ii) any claim based on or
      relating to, or in any manner arising from, in whole or in part, tort, breach of
      contract, breach of fiduciary duty, violation of local, state, federal, or foreign
      law, or breach of any duty imposed by law or in equity, including, without
      limitation, securities laws, negligence, and gross negligence; (iii) the right to
      object to or otherwise contest claims or interests; (iv) claims pursuant to section
      362 or chapter 5 of the Bankruptcy Code; (v) such claims and defenses as fraud,
      mistake, duress, and usury and any other defenses set forth in section 558 of the
      Bankruptcy Code; and (vi) any avoidance actions arising under chapter 5 of the
      Bankruptcy Code or under similar local, state, federal, or foreign statutes and
      common law, including, without limitation, fraudulent transfer laws, and neither
      the Global Notes nor the Schedules and Statements shall be deemed a waiver of
      any such claims, Causes of Action, or avoidance actions, or in any way prejudice
      or impair the assertion of any claims or causes of action.

g.    Intellectual Property Rights. Exclusion of certain intellectual property on the
      Schedules and Statements shall not be construed to be an admission that such
      intellectual property rights have been abandoned, have been terminated, or
      otherwise have expired by their terms, or have been assigned or otherwise
      transferred pursuant to a sale, acquisition, or other transaction. Conversely,
      inclusion of certain intellectual property on the Schedules and Statements shall
      not be construed to be an admission that such intellectual property rights have
      not been abandoned, have not been terminated, or otherwise have not expired by
      their terms or have not been assigned or otherwise transferred pursuant to a sale,
      acquisition, or other transaction. The Debtors have made every effort to attribute
      intellectual property to the rightful Debtor owner; however, in some instances,
      intellectual property owned by one Debtor may, in fact, be owned by another
      Debtor. Accordingly, the Debtors reserve all of their rights with respect to the
      legal status of any and all intellectual property rights.

h.    Insiders. For purposes of the Schedules and Statements, the Debtors define
      insiders as individuals or entities that, based upon the totality of circumstances,
      have a controlling interest in, or exercise sufficient control over, the respective
      Debtor such that they dictated corporate policy and/or the disposition of


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           corporate assets during the relevant time periods, irrespective of the title that the
           person holds. Certain individuals that may hold a senior title, but who would not
           fall under the definition of “insider” have not been included. However, the
           listing or omission of a party as an “insider” for the purposes of the Schedules
           and Statements is for informational purposes and is not intended to be, nor
           should be construed as, an admission that such parties are insiders for purposes
           of section 101(31) of the Bankruptcy Code. Information regarding the
           individuals or entities listed as insiders in the Schedules and Statements may not
           be used for: (i) the purposes of determining (a) control of the Debtors; (b) the
           extent to which any individual or entity exercised management responsibilities
           or functions; (c) corporate decision-making authority over the Debtors; or
           (d) whether such individual or entity (or the Debtors) could successfully argue
           that they are not an insider under applicable law, including, without limitation,
           the Bankruptcy Code and federal securities laws, or with respect to any theories
           of liability or (ii) any other purpose. Furthermore, the listing or omission of a
           party as an insider for purposes of the Schedules and Statements is not intended
           to be, nor should it be, construed as an admission of any fact, right, claim, or
           defense, and all such rights, claims, and defenses are hereby expressly reserved.

4. Methodology

     a.    Basis of Presentation. For financial reporting purposes, the Debtors generally
           prepare consolidated financial statements, which include financial information
           for the Debtors. Combining the assets and liabilities set forth in the Debtors’
           Schedules and Statements would result in amounts that would be substantially
           different from financial information that would be prepared on a consolidated
           basis under GAAP. Therefore, these Schedules and Statements neither purport
           to represent financial statements prepared in accordance with GAAP or any other
           generally accepted accounting principles of foreign jurisdictions, as applicable,
           nor are they intended to fully reconcile to the financial statements prepared by
           the Debtors. Unlike the consolidated financial statements, these Schedules and
           Statements, except where otherwise indicated, reflect the assets and liabilities of
           each separate Debtor. Information contained in the Schedules and Statements
           has been derived from the Debtors’ books and records and historical financial
           statements.

           The Debtors attempted to attribute the assets and liabilities, certain required
           financial information, and various cash disbursements to the proper Debtor
           entity. Nevertheless, due to limitations within the Debtors’ accounting systems,
           it is possible that not all assets, liabilities, or amounts of cash disbursements have
           been recorded with the correct legal entity on the Schedules and Statements.
           Accordingly, the Debtors reserve all rights to supplement and/or amend the
           Schedules and Statements in this regard.

           Given, among other things, the uncertainty surrounding the collection,
           ownership, and valuation of certain assets and the amount and nature of certain
           liabilities, to the extent a Debtor reports more assets than liabilities, such report


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                shall not constitute an admission that such Debtor was solvent on the Petition
                Date or at any time prior to or after the Petition Date. Likewise, to the extent a
                Debtor reports more liabilities than assets, such report shall not constitute an
                admission that such Debtor was insolvent on the Petition Date or at any time
                prior to or after the Petition Date. For the avoidance of doubt, nothing contained
                in the Schedules and Statements is indicative of the Debtors’ enterprise value.
                The Schedules and Statements contain unaudited information that is subject to
                further review and potential revision.

        b.      Reporting Date. The asset information provided herein, except as otherwise
                noted, represents the Debtors’ asset data as December 31, 2024, and the Debtors’
                liability data is as of the Petition Date, adjusted for authorized payments under
                the First Day Orders (as defined herein).

        c.      Confidentiality or Sensitive Information. There may be instances in which
                certain information in the Schedules and Statements has been intentionally
                redacted due to, among other things, concerns for the privacy of an individual or
                concerns about the confidential or commercially sensitive nature of certain
                information. Any alterations or redactions in the Schedules and Statements are
                limited only to what the Debtors believe is necessary to protect the Debtors or
                the applicable third party, and the Debtors have provided interested parties with
                sufficient information to discern the nature of the listing. The alterations will be
                limited to only what is necessary to protect the Debtor or the applicable third
                party. The Debtors may also be authorized or required to redact certain personal
                identification information from the public record pursuant to orders of the Court
                authorizing the Debtors to redact, seal, or otherwise protect such information
                from public disclosure.3

        d.      Consolidated Entity Accounts Payable and Disbursement Systems.
                Receivables and payables among the Debtors are reported on Schedule A/B and
                Schedule E/F, respectively, per the Debtors’ unaudited books and records. The
                listing of any amounts with respect to such receivables and payables is not, and
                should not be construed as, an admission or conclusion regarding the allowance,
                classification, validity, or priority of such account or characterization of such
                balances as debt, equity, or otherwise. Thus, intercompany balances as of the
                Petition Date, as set forth in Schedule A/B and Schedule E/F, may not accurately
                reflect current positions.

                As described more fully in the Debtors’ Motion for Entry of Interim and Final
                Orders (I) Authorizing the Debtors to (A) Continue to Operate Their Cash
                Management System and Maintain Existing Bank Accounts, (B) Utilize Their
                Credit Cards, and (C) Engage in Intercompany Transactions, (II) Granting a
                Waiver of the Requirements of Section 345(b) of the Bankruptcy Code and U.S.
                Trustee Guidelines, and (III) Granting Related Relief [Docket No. 7] (the “Cash

3
    See, e.g., Order (I) Authorizing the Debtors to Redact Certain Personal Identification Information and
    (II) Granting Related Relief [Docket No. 95].



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      Management Motion”), the Debtors utilize an integrated, centralized cash
      management system in the ordinary course of business to collect, concentrate,
      and disburse funds generated from their operations (the “Cash Management
      System”). The Debtors maintain a consolidated accounts payable and
      disbursements system to pay operating and administrative expenses through
      various disbursement accounts. The Cash Management System is supported by
      approximately nine bank accounts. The Debtors can generally ascertain, trace,
      and account for inter-Debtor transactions (the “Intercompany Transactions”).
      Pursuant to the Final Order (I) Authorizing the Debtors to (A) Continue to
      Operate Their Cash Management System and Maintain Existing Bank Accounts,
      (B) Utilize Their Credit Cards, and (C) Engage in Intercompany Transactions,
      (II) Granting a Waiver of the Requirements of Section 345(b) of the Bankruptcy
      Code and U.S. Trustee Guidelines, and (III) Granting Related Relief [Docket
      No. 161], the Court granted the Debtors authority to continue to engage in
      Intercompany Transactions in the ordinary course of business, subject to certain
      limitations set forth therein.

      While commercially reasonable efforts have been made to indicate the ultimate
      beneficiary of a payment or obligation, whether a particular payment or
      obligation was incurred by the entity actually making the payment or incurring
      the obligation is a complex question of applicable non-bankruptcy law, and
      nothing herein constitutes an admission that any Debtor entity is an obligor with
      respect to any such payment.

      For the avoidance of doubt, the Debtors reserve all rights, claims, and defenses
      in connection with any and all receivables and payables, including, but not
      limited to, all rights to reclassify any payment or obligation as attributable to
      another entity, all rights with respect to the proper accounting and treatment of
      such payments and liabilities and all rights with respect to the characterization of
      intercompany claims, loans, and notes.

e.    Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
      may properly be disclosed in response to multiple parts of the Statements and
      Schedules. To the extent these disclosures would be duplicative, the Debtors
      have determined to only list such assets, liabilities, and prepetition payments
      once.

f.    Net Book Value of Assets. In many instances, current market valuations are not
      maintained by or readily available to the Debtors. It would be prohibitively
      expensive, unduly burdensome, and an inefficient use of estate resources for the
      Debtors to obtain current market valuations for all assets. As such, unless
      otherwise indicated, net book values set forth in these Schedules and Statements
      are presented as of the Petition Date for all assets. When necessary, the Debtors
      have indicated that the value of certain assets is “Unknown” or “Undetermined.”
      Amounts ultimately realized may vary materially from net book value (or other
      value so ascribed). Accordingly, the Debtors reserve all rights to amend,



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      supplement, and adjust the asset values set forth in the Schedules and
      Statements.

      Assets that have been fully depreciated or that were expensed for accounting
      purposes either do not appear in these Schedules and Statements or are listed
      with a zero-dollar value, as such assets have no net book value. The omission of
      an asset from the Schedules and Statements does not constitute a representation
      regarding the ownership of such asset, and any such omission does not constitute
      a waiver of any rights the Debtors have with respect to such asset. Nothing in
      the Debtors’ Schedules and Statements shall be, or shall be deemed to be, an
      admission that any Debtor was solvent or insolvent as of the Petition Date or at
      any time prior to or after the Petition Date.

g.    Currency. All amounts shown in the Schedules and Statements are in U.S.
      dollars, unless otherwise indicated. Prior to the Petition Date, the Debtors
      converted amounts in foreign currencies to U.S. dollars using exchange rates
      from OANDA as of the close of each month.

h.    Payment of Prepetition Claims Pursuant to First Day Orders. Following the
      Petition Date, the Court entered various orders authorizing, but not directing, the
      Debtors to, among other things, pay certain prepetition: (i) service fees and
      charges assessed by the Debtors’ banks; (ii) insurance obligations; (iii) employee
      wages, salaries, benefits, taxes, and related items; and (iv) taxes and assessments
      (collectively, the “First Day Orders”). As such, outstanding liabilities may have
      been or will be reduced by Court-approved postpetition payments made on
      account of prepetition payables. Where and to the extent these liabilities have
      been satisfied, or will be satisfied in the ordinary course, they may not be listed
      in the Schedules and Statements. The Debtors reserve the right to update the
      Schedules and Statements to reflect payments made pursuant to an order of the
      Court (including the First Day Orders).

i.    Other Paid Claims. To the extent the Debtors have reached any postpetition
      settlement with a vendor or other creditor, the terms of such settlement will
      prevail, supersede amounts listed in the Schedules and Statements, and shall be
      enforceable by all parties, subject to any necessary Court approval. To the extent
      the Debtors pay any of the claims listed in the Schedules and Statements
      pursuant to any orders entered by the Court, the Debtors reserve all rights to
      amend and supplement the Schedules and Statements and take other action, such
      as filing claims objections, as is necessary and appropriate to avoid overpayment
      or duplication of payment for such liabilities.

j.    Setoffs. The Debtors may incur setoffs and net payments in the ordinary course
      of business. Such setoffs and nettings may occur due to a variety of transactions
      or disputes, including, but not limited to, intercompany transactions,
      counterparty settlements, pricing discrepancies, and negotiations and/or other
      disputes between the Debtors and their customers or counterparties. In
      accordance with the Debtors’ agreements with their counterparties, these


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      amounts are set off on a reoccurring basis against future revenues in a normal
      course reconciliation process with these partners. Certain of these ordinary
      course setoffs are not independently accounted for and, as such, may be excluded
      from the Schedules and Statements. Any setoff of a prepetition debt to be
      applied against the Debtors is subject to the automatic stay and must comply
      with section 553 of the Bankruptcy Code. The Debtors reserve all rights to
      challenge any setoff and/or recoupment rights that may be asserted against them,
      including, but not limited to, any and all rights preserved pursuant to section 558
      of the Bankruptcy Code.

k.    Accounts Receivable. The accounts receivable information listed on the
      Schedules includes receivables from the Debtors’ customers and is calculated net
      of any amounts that, as of the Petition Date, may have been owed in the form of
      offsets or other price adjustments.

l.    Property and Equipment. Unless otherwise indicated, owned property and
      equipment are stated at net book value. Certain intangibles are listed in the asset
      schedules for the Debtors. Such treatment may not reflect actual legal
      ownership. The Debtors owned furniture, fixtures, and equipment (the “FF&E”)
      is stated at net book value. The Debtors may also lease FF&E from certain
      third-party lessors. The Debtors have endeavored to list any such leases in the
      Schedules and Statements. Nothing in the Statements or Schedules is or shall be
      construed as an admission or determination as to the legal status of any lease
      (including whether any lease is a true lease or a financing arrangement), and the
      Debtors reserve all rights with respect to any such lease, including, but not
      limited to, the recharacterization thereof.

m.    Liens. The inventories, property, and equipment listed in the Statements and
      Schedules are presented without consideration of any asserted mechanics’ lien,
      materialman’s lien, or similar liens that may attach (or have attached) to such
      inventories, property, and equipment, and the Debtors reserve all of their rights
      with respect to such liens (if any). UCC liens as of the Petition Date, if any, are
      listed on Schedule D.

n.    Pledged Assets. A significant amount of the assets listed on the Debtors’
      Schedule A/B have been pledged as collateral by the Debtors and may be outside
      of the Debtors’ control, including, without limitation, in connection with the
      Debtors’ postpetition financing facility.

o.    Excluded Assets and Liabilities. Certain liabilities resulting from accruals,
      liabilities recognized in accordance with GAAP, and/or estimates of long-term
      liabilities either are not payable at this time or have not yet been reported.
      Therefore, they do not represent specific claims as of the Petition Date and are
      not otherwise set forth in the Schedules. Additionally, certain deferred assets,
      charges, accounts, or reserves recorded for GAAP reporting purposes only, and
      certain assets with a net book value of zero, are not included in the Schedules.
      Excluded categories of assets and liabilities include, but are not limited to,


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      deferred tax assets and liabilities, deferred income, deferred charges,
      self-insurance reserves, future obligations of any leases, favorable lease rights,
      and unfavorable lease liabilities. In addition, and as set forth above, the Debtors
      may have excluded amounts for which the Debtors have paid or have been
      granted authority to pay pursuant to the First Day Orders or other orders that
      may be entered by the Court. Other immaterial assets and liabilities may also
      have been excluded.

p.    Undetermined Amounts. The description of an amount as “unknown” or
      “undetermined” is not intended to reflect upon the materiality of such amount.

q.    Totals. All totals that are included in the Schedules and Statements represent
      totals of all the known amounts included in the Schedules and Statements and
      exclude items identified as “unknown” or “undetermined.” To the extent there
      are unknown or undetermined amounts, the actual totals may be materially
      different from the listed totals. The description of an amount as “unknown” or
      “undetermined” is not intended to reflect upon the materiality of such amount.
      To the extent a Debtor is a guarantor of debt held by another Debtor, the
      amounts reflected in these Schedules are inclusive of each Debtor’s guarantor
      obligations.

r.    Credits and Adjustments. The claims of individual creditors for, among other
      things, goods, products, services, and taxes are listed as the amounts entered on
      the Debtors’ books and records and may either (i) not reflect credits, allowances,
      or other adjustments due from such creditors to the Debtors or (ii) be net of
      accrued credits, allowances, rebates, trade debits, or other adjustments that are
      actually owed by a creditor to the Debtors on a postpetition basis on account of
      such credits, allowances, or other adjustments earned from prepetition payments
      and postpetition payments, if applicable. The Debtors reserve all of their rights
      with regard to such credits, allowances, and other adjustments, including but not
      limited to, the right to assert claims objections and/or setoffs with respect to the
      same.

s.    Guarantees and Other Secondary Liability Claims. The Debtors exercised
      their commercially reasonable efforts to locate and identify guarantees and other
      secondary liability claims (collectively, the “Guarantees”) in their executory
      contracts, unexpired leases, secured financings, debt instruments, and other
      agreements. Nevertheless, a review of these agreements, specifically the
      Debtors’ unexpired leases and executory contracts, is ongoing. The Debtors
      have reflected the obligations under the Guarantees for both the primary obligor
      and the guarantors with respect to their secured financings, debt instruments, and
      other such agreements on Schedule H, and the obligations for the primary
      obligor have been included in Schedule D, E, F, or G, as applicable. Guarantees
      embedded in the Debtors’ executory contracts, unexpired leases, secured
      financings, debt instruments, and other agreements may have been omitted
      inadvertently, or the Debtors may have included both the primary obligation and
      the Guarantee in the applicable Schedule D, E, E, or G, even though such


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      Guarantee may be unliquidated, contingent, or disputed. The Debtors may
      identify additional Guarantees as they continue their review of their books and
      records and contractual agreements. The Debtors reserve their rights, but are not
      required, to amend the Schedules and Statements if additional Guarantees are
      identified or to remove or modify previously scheduled Guarantees as
      appropriate.

t.    Leases. The Debtors have not included future obligations under any capital or
      operating leases in the Schedules and Statements. To the extent there was an
      amount outstanding on account of such lease as of the Petition Date, the creditor
      has been included on Schedule E/F of the Schedules. In the ordinary course of
      business, certain of the Debtors may enter into agreements titled as leases for
      property, other property interests, and/or equipment from third-party lessors for
      use in the daily operation of their business. Any such prepetition obligations that
      are known to the Debtors have been listed on Schedule F, and the underlying
      lease agreements are listed on Schedule G or, if the leases are in the nature of
      real property interests under applicable state laws, on Schedule A/B. Nothing in
      the Schedules and Statements is, or shall be construed to be, an admission as to
      the determination of the legal status of any lease (including whether any lease is
      a true lease, a financing arrangement, or a real property interest), and the Debtors
      reserve all rights with respect to such issues.

u.    Executory Contracts. Although the Debtors made diligent efforts to attribute
      an executory contract to its rightful Debtor, in certain instances, the Debtors may
      have inadvertently failed to do so. Accordingly, the Debtors reserve all of their
      rights with respect to the named parties of any and all executory contracts,
      including the right to amend Schedule G.

      The contracts, agreements, and leases listed on Schedule G may have expired or
      may have been modified, amended, or supplemented from time to time by
      various amendments, restatements, waivers, estoppel certificates, letters,
      memoranda, and other documents, instruments, and agreements that may not be
      listed therein despite the Debtors’ use of diligent efforts to identify such
      documents. In addition, although the Debtors have made diligent attempts to
      properly identify executory contracts and unexpired leases, the inclusion of a
      contract or lease on Schedule G does not constitute an admission as to the
      executory or unexpired nature (or non-executory or expired nature) of the
      contract or lease, or an admission as to the existence or validity of any claims
      held by any counterparty to such contract or lease.

v.    Allocation of Liabilities. The Debtors, in consultation with their advisors, have
      sought to allocate liabilities between the prepetition and postpetition periods
      based on the information and research that was conducted in connection with the
      preparation of the Schedules and Statements. As additional information
      becomes available and further research is conducted, the allocation of liabilities
      between prepetition and postpetition periods may change. The Debtors reserve



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              the right to amend and/or supplement the Schedules and Statements as they
              deem appropriate in this regard.

              The liabilities listed on the Schedules do not reflect any analysis of claims under
              section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all
              of their rights to dispute or challenge the validity of any asserted claims under
              section 503(b)(9) of the Bankruptcy Code or the characterization of the structure
              of any such transaction or any document or instrument related to any creditor’s
              claim.

       w.     Unliquidated Claim Amounts. Claim amounts that could not be readily
              quantified by the Debtors are scheduled as “unliquidated.”

       x.     Umbrella or Master Agreements. Contracts and leases listed in the Schedules
              and Statements may be umbrella or master agreements that cover relationships
              with some or all of the Debtors. Where relevant, such agreements have been
              listed in the Schedules and Statements only for the Debtor entity that signed the
              original umbrella or master agreement. Other Debtors, however, may be liable
              together with such Debtor on account of such agreements and the Debtors
              reserve all rights to amend the Schedules to reflect changes regarding the
              liabilities of the Debtors with respect to such agreements, if appropriate. The
              master service agreements or other ancillary documents have been listed in
              Schedule G, but such listing does not reflect any decision by the Debtors as to
              whether such agreements are executory in nature.

Specific Schedule Disclosures

         Schedules A/B, D, E/F, G, and H may contain explanatory or qualifying notes that
 pertain to the information provided in the Schedules. Those Schedule-specific notes are
 incorporated herein by reference. Unless otherwise noted, the asset totals listed on the
 Schedules are derived from amounts included in the Debtors’ books and records as of the
 Petition Date. To the extent there are unknown or undetermined amounts, the actual total may
 be different from the total listed.

1. Schedule A/B – Assets – Real and Personal Property.

       a.     Part 1 – Cash and cash equivalents. The Debtors’ Cash Management System
              is comprised of approximately nine bank accounts. The Debtors’ primary cash
              management bank is JP Morgan Chase Bank. Further details with respect to the
              Cash Management System are provided in the Cash Management Motion. The
              cash amounts listed are as of the Petition Date for the corresponding Debtor and
              reflect the bank balance, not the net book value.

       b.     Part 2 – Deposits and prepayments. The Debtors are required to make
              prepayments from time to time with various vendors, landlords, and service
              providers as part of the ordinary course of business. The “Current Value of the
              Debtors’ Interests in Deposits and Prepayments” reflects the amount paid and
              does not reflect a valuation of the Debtors’ interest in connection therewith.


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      Certain prepayments for insurance are included on each of the Debtors’ Schedule
      A/B, Question 8 that has an interest in the insurance policy. The Debtors have
      not included retainers or advance payments provided to professional firms as
      deposits or prepayments based on the assumption that such retainers or advance
      any such retainer or advance payments were applied prepetition or will be
      applied in the future.

c.    Part 3 – Accounts receivable. The Debtors’ accounts receivable information
      includes receivables from the Debtors’ customers, vendors, or third parties, which
      are calculated net of any amounts that, as of December 31, 2024, may be owed to
      such parties in the form of offsets or other price adjustments pursuant to the
      Debtors’ day-to-day operations or may, in the Debtors’ opinion, be difficult to
      collect from such parties due to the passage of time or other circumstances.
      Additionally, balances are net of payments received by such customers, vendors,
      or third parties during the period from January 1, 2025 to the Petition Date. The
      accounts receivable balances in this section exclude intercompany receivables.

d.    Part 4 – Investments. Part 4 identifies only subsidiaries owned directly by the
      applicable Debtor entity. Subsidiaries owned indirectly by the Debtor entity are
      not listed. Ownership interests in subsidiaries, partnerships, and joint interests
      are listed in Schedule A/B, Question 15, as undetermined amounts on account of
      the fact that the fair market value of such ownership is dependent on numerous
      variables and factors and may differ significantly from their net book value.

e.    Part 7 – Office furniture, fixtures, and equipment; and collectibles. FF&E is
      recorded at net book value. Actual realizable values may vary significantly
      relative to net book values as of the Petition Date. Additionally, in an effort to
      reduce the volume of the disclosures that would be otherwise applicable, the
      Debtors are disclosing their fixed assets at the category level.

f.    Part 9 – Real Property. Property leased by the Debtors is listed on both Part 9
      of Schedule A/B and on Schedule G. The Debtors reserve all rights to
      recharacterize their interests in real property at a later date.

g.    Part 10 – Intangibles and intellectual property. Part 10 identifies the various
      trademarks, patents, customer lists, website domains, and licenses, among other
      things, owned and maintained by the Debtors. The Schedules may not list the
      value of such intangible assets as no recent appraisals have been performed.

h.    Part 11 – All other assets. As described more fully in the Debtors’ Motion for
      Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Maintain
      Insurance Policies and Surety Bond Program and Honor Obligations
      Thereunder, and (B) Renew, Amend, Supplement, Extend, or Purchase Insurance
      Policies and Surety Bonds, and (II) Granting Related Relief [Docket No. 14], the
      Debtors maintain insurance policies administered by multiple third-party
      insurance carriers. The insurance policies provide coverage for, among other
      things, employment practices liability, general commercial liability for the


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            Debtors’ business operations in the United States and Canada, property losses,
            risks associated with business travel outside of the United States and Canada,
            cargo loss, special crimes, directors’ and officers’ liability, and excess claims
            liability. Any policies owned by suppliers to which Debtor entities may have
            been added as a beneficiary are not included.

            The Debtors have not included all potential preference actions and/or fraudulent
            transfer actions because the Debtors have not completed a full analysis of such
            potential claims. The Debtors’ failure to list any cause of action, claim, or right
            of any nature is not an admission that such cause of action, claim, or right does
            not exist and should not be construed as a waiver of such cause of action, claim,
            or right.

2. Schedule D – Creditors Who Have Claims Secured by Property.

      a.    The claims listed on Schedule D, as well as the guarantees of those claims listed
            on Schedule H, arose and were incurred on various dates. To the best of the
            Debtors’ knowledge, all claims listed on Schedule D arose, or were incurred,
            before the Petition Date.

      b.    Except as otherwise agreed or stated pursuant to a stipulation, agreed order, or
            general order entered by the Court that is or becomes final, the Debtors and/or
            their estates reserve the right to dispute and challenge the validity, perfection, or
            immunity from avoidance of any lien purported to be granted or perfected in any
            specific asset to a creditor listed on Schedule D of any Debtor and, subject to the
            foregoing limitations, note as follows: (i) although the Debtors may have
            scheduled claims of various creditors as secured claims for informational
            purposes, no current valuation of the Debtors’ assets in which such creditors may
            have a lien has been undertaken, and (ii) the descriptions provided on Schedule
            D and herein are intended to be a summary. Reference to the applicable loan
            agreements and related documents is necessary for a complete description of the
            collateral and the nature, extent, and priority of any liens. Detailed descriptions
            of the Debtors’ prepetition debt structure, guarantees, and descriptions of
            collateral relating to each obligation, if any, contained on Schedule D are
            contained in the Declaration of Douglas Smith, Chief Executive Officer of
            Ligado Networks LLC, in Support of Chapter 11 Petitions and First Day
            Pleadings [Docket No. 2].

      c.    Schedule D does not include beneficiaries of letters of credit. Although the
            claims of such parties may be secured by a letter of credit, the Debtors’
            obligations under the letters of credit run to the issuers thereof, and not to the
            beneficiaries thereof.

      d.    The Debtors have not listed on Schedule D any parties whose claims may be
            secured through rights of setoff, deposits, or advance payments posted by, or on
            behalf of, the Debtors, or judgment or statutory lien rights. The Debtors have




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            not investigated which of the claims may include such rights, and their
            population is currently unknown.

      e.    Secured claims include both principal and accrued interest as of the Petition
            Date.

3. Schedule E/F – Creditors Who Have Unsecured Claims.

      a.    Part 1 – Creditors with Priority Unsecured Claims. The claims listed on
            Part 1 arose and were incurred on various dates. A determination of the date upon
            which each claim arose or was incurred would be unduly burdensome and cost
            prohibitive. Accordingly, no such dates are included for each claim listed on
            Part 1. To the best of the Debtors’ knowledge, all claims listed on Part 1 arose or
            were incurred before the Petition Date.

            The Debtors have not listed any wage or wage-related obligations that the
            Debtors have paid or have been granted authority to pay pursuant to the First
            Day Orders on Part 1. The Debtors reserve their right to dispute or challenge
            whether creditors listed on Part 1 are entitled to priority claims under the
            Bankruptcy Code.

            Except with respect to any pending audits, the Debtors also have not listed any
            tax-related obligations that the Debtors have paid or may pay pursuant to the
            First Day Orders on Part 1. The Debtors reserve their right to dispute or
            challenge whether creditors listed on Part 1 are entitled to priority claims under
            the Bankruptcy Code. With respect to such claims that are subject to pending
            audits, the Debtors have listed all such claims as contingent, unliquidated, and
            disputed, pending final resolution of ongoing audits or other outstanding issues.
            Further, certain of the Debtors are members of a consolidated group for tax
            purposes under parent company Ligado Networks LLC, and any such claims that
            are subject to pending audits are only listed on Ligado Networks LLC’s
            Schedules.

      b.    Part 2 – Creditors with Nonpriority Unsecured Claims. The Debtors have
            exercised commercially reasonable efforts to list all liabilities on Part 2 of each
            applicable Debtor’s Schedule. As a result of the Debtors’ consolidated
            operations, however, Part 2 for each Debtor should be reviewed in these cases
            for a complete understanding of the unsecured claims against the Debtors.
            Certain creditors listed on Part 2 may owe amounts to the Debtors, and, as such,
            the Debtors may have valid setoff and recoupment rights with respect to such
            amounts. The amounts listed on Part 2 may not reflect any such right of setoff or
            recoupment, and the Debtors reserve all rights to assert the same and to dispute
            and challenge any setoff and/or recoupment rights that may be asserted against
            the Debtors by a creditor, including, but not limited to, any and all rights
            preserved pursuant to section 558 of the Bankruptcy Code. Additionally, certain
            creditors may assert mechanic’s liens or other similar liens against the Debtors
            for amounts listed on Part 2. The Debtors reserve their right to dispute and


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 challenge the validity, perfection, and immunity from avoidance of any lien
 purported to be perfected by a creditor of any Debtor listed on Part 2. In addition,
 certain claims listed on Part 2 may potentially be entitled to administrative
 priority under section 503(b)(9) of the Bankruptcy Code.

 The Debtors have made commercially reasonable efforts to include all unsecured
 creditors on Part 2 including, but not limited to, software companies, landlords,
 utility companies, consultants, and other service providers. The Debtors,
 however, believe the possibility exists that there are instances where creditors
 have yet to provide proper invoices for prepetition goods or services. While the
 Debtors maintain general accruals to account for these liabilities in accordance
 with GAAP, these amounts are estimates and have not been included on Part 2.

 Unless otherwise noted, the claims listed on Part 2 are based on the Debtors’ books
 and records as of the Petition Date.

 Part 2 does not include certain balances, such as deferred liabilities, accruals, or
 reserves. Such amounts are, however, reflected on the Debtors’ books and
 records as required in accordance with GAAP. Such accruals primarily
 represent estimates of liabilities and do not represent specific claims as of the
 Petition Date.

 Part 2 does not include reserves for liabilities that may have arisen under
 litigation or threatened litigation in which a Debtor is a defendant unless there is
 a final judgment or a settlement agreement.

 The claims of individual creditors may not reflect credits and/or allowances due
 from creditors to the applicable Debtor. The Debtors reserve all of their rights
 with respect to any such credits and/or allowances, including, but not limited to,
 the right to assert objections and/or setoffs or recoupments with respect to same.

 The Court has authorized the Debtors to pay, in their discretion, certain non-
 priority unsecured claims pursuant to the First Day Orders. To the extent
 practicable, each Debtor’s Schedule E/F is intended to reflect the balance as of
 the Petition Date, adjusted for postpetition payments made under some or all of
 the First Day Orders. Each Debtor’s Schedule E/F will, if applicable, reflect
 some of that Debtor’s payment of certain claims pursuant to the First Day Orders,
 and, to the extent an unsecured claim has been paid or which the Debtors have
 been granted authority to pay, it is possible such claim is not included on
 Schedule E/F. Certain Debtors may pay additional claims listed on Schedule
 E/F during these Chapter 11 Cases pursuant to the First Day Orders and other
 orders of the Court, and the Debtors reserve all of their rights to update Schedule
 E/F to reflect such payments or to modify the claims register to account for the
 satisfaction of such claims. Additionally, Schedule E/F does not include potential
 rejection damage claims, if any, of the counterparties to executory contracts and
 unexpired leases that may be rejected.




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4. Schedule G – Executory Contracts and Unexpired Leases.

      a.     Although commercially reasonable efforts have been made to ensure the
             accuracy of Schedule G regarding executory contracts and unexpired leases
             (collectively, the “Agreements”) as of the filing of the Statements and Schedules,
             the Debtors’ collection and review process of the Agreements is ongoing, and
             inadvertent errors, omissions, or over‑ or under-inclusion may have occurred.
             The Debtors may have entered into various other types of Agreements in the
             ordinary course of their business, such as indemnity agreements, supplemental
             agreements, amendments/letter agreements, master service agreements, and
             confidentiality agreements, that may not be set forth in Schedule G. The Debtors
             have not included on Schedule G engagement letters with any of the Debtors’
             professionals. Omission of a contract or agreement from Schedule G does not
             constitute an admission that such omitted contract or agreement is not an
             executory contract or unexpired lease. Schedule G may be amended at any time
             to add any omitted Agreements. Likewise, the listing of an Agreement on
             Schedule G does not constitute an admission that such Agreement is an
             executory contract or unexpired lease, that such Agreement was in effect on the
             Petition Date, or that such Agreement is valid or enforceable. The Agreements
             listed on Schedule G may have expired or may have been modified, amended, or
             supplemented from time to time by various amendments, restatements, waivers,
             estoppel certificates, letters and other documents, instruments, and agreements
             which may not be listed on Schedule G. Remaining terms of Agreements listed
             on Schedule G are shown as recorded in the Debtors’ records.

5. Schedule H – Codebtors.

      a.     The Debtors are party to various debt agreements that were executed by multiple
             Debtors. The guaranty obligations under prepetition secured credit agreements
             are noted on Schedule H for each individual Debtor. In the ordinary course of
             their businesses, the Debtors are involved in pending or threatened litigation and
             claims arising out of the conduct of their business. Some of these matters may
             involve multiple plaintiffs and defendants, some or all of whom may assert
             crossclaims and counterclaims against other parties. To the extent such claims
             are listed elsewhere in the Schedules of each applicable Debtor, they have not
             been set forth individually on Schedule H. In the event that two or more Debtors
             are co-obligors with respect to a scheduled debt or guaranty, such debt or
             guaranty is listed in the Schedules and Statements of each such Debtor at the full
             amount of such potential claim. No claim set forth on the Schedules and
             Statements of any Debtor is intended to acknowledge claims of creditors that are
             otherwise satisfied or discharged by other Debtors. To the extent these Global
             Notes include notes specific to Schedules D–G, such Global Notes also apply to
             the co-Debtors listed in Schedule H. The Debtors reserve all of their rights to
             amend the Schedules to the extent that additional guarantees are identified or
             such guarantees are discovered to have expired or be unenforceable.




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Specific Notes with Respect to the Debtors’ Statements of Financial Affairs

1. Statement 3. The Debtors have responded to Question 3 in detailed format by creditor.
   Certain amounts have been converted from Canadian dollars to U.S. dollars based on the
   conversion rate as of the month of the date of the invoice.

   The payments disclosed in Statement 3 are based on actual payment transfers made by the
   Debtors with payment dates from October 7, 2024, to the Petition Date.

   The response to Question 3, however, does not include transfers to bankruptcy professionals
   (which transfers appear in response to Part 6, Question 11) or intercompany transfers. The
   response to Statement 3 also excludes regular salary payments and ordinary course bonus
   payments, as well as disbursements or transfers which are listed, to the extent required, on
   Statement 4.

2. Statement 4. Refer to the Methodology section regarding all payments to insiders. The
   Debtors have responded to Questions 4 in detailed format by insider in the attachment for
   Question 4. The amounts listed under Question 4 reflect the gross amounts paid to such
   insiders, rather than the net amounts after deducting for tax withholdings. To the extent
   (i) a person qualified as an “insider” in the year prior to the Petition Date, but later resigned
   their insider status or (ii) did not begin the year as an insider, but later became an insider,
   the Debtors have only listed in Question 4 those payments made while such person was
   defined as an insider.

3. Statement 7. The Debtors used commercially reasonable efforts to identify all legal
   actions, proceedings, and audits within one-year of the Petition Date and assign appropriate
   descriptions thereto using information available to the Debtors. Certain of the Debtors are
   members of a consolidated group for tax purposes under parent company Ligado Networks
   LLC, and any audits listed are only listed on Statement 7 for Ligado Networks LLC.

4. Statement 9. For the avoidance of doubt, Statement 9 excludes de minimis charitable
   contributions.

5. Statement 11. The response to Question 11 identifies the Debtor that made a payment in
   respect of professionals that provided the Debtors with consultation concerning debt
   counseling or restructuring services, relief under the Bankruptcy Code, or preparation of a
   petition in bankruptcy within one (1) year immediately preceding the Petition Date.
   Although such services were provided for the benefit of and on behalf of all of the Debtors,
   all of the payments for such services were made by Ligado Networks LLC (to U.S.
   professionals) and Ligado Networks Corp. (to Canadian professionals) and are, therefore,
   only listed on that Debtor’s responses. Additionally, due to the nature of certain of the
   Debtors’ professionals’ work, distinguishing payments related to the Debtors’ bankruptcy
   proceedings from payments for services unrelated to the Debtors’ bankruptcy proceedings
   can be difficult. The Debtors have not separately identified payments related to non-
   bankruptcy-related services from payments related to bankruptcy or restructuring services
   on Statement 11.




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   In addition, the Debtors have listed payments made to professionals retained by the Debtors
   but not payments made to professionals advising non-debtor third parties in connection with
   the Debtors or these Chapter 11 Cases.

6. Statement 20. The locations listed for off-premises storage do not include cloud-based
   storage of electronic data.

7. Statement 26. The Debtors are a private company who provide financial information to
   their shareholders. In addition, the Debtors have historically provided financial statements
   to various interested parties over the past two years, including but not limited to, insurance
   carriers, lenders and financial institutions, landlords, vendors, advisors, noteholders, and
   others. Considering the number of such recipients, the Debtors have not disclosed any
   parties that may have received such financial statements for purposes of Statement 26d.

8. Statements 28 and 29. For purposes of the Schedules and Statements, the Debtors define
   “controlling interest holders” to include entities that directly hold in excess of 20% of the
   voting interests of the applicable Debtor entity. Entities listed as “controlling interest
   holders” have been included for informational purposes only. The Debtors do not take any
   position with respect to such entity’s influence over the control of the Debtors or whether
   such entity could successfully argue that it is not a “controlling interest holders” under
   applicable law, including the federal securities laws, or with respect to any theories of
   liability or for any other purpose. For certain entities included in this response, the owner
   may hold ownership in trusts or managed accounts versus in its individual capacity.

9. Statement 30. Distributions by the Debtors to their insiders are listed on the attachment to
   Question 4. The amounts listed under Question 4 reflect the gross amounts paid to such
   insiders, rather than the net amounts after deducting for tax withholdings.




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  Fill in this information to identify the case:
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 Debtor name: Ligado Networks Holdings (Canada) Inc.
 United States Bankruptcy Court for the Division, District of Delaware                                                                                                                         Check if this is an amended filing
 Case number (If known): 25-10008


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                                                                                                           04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if
known).

 Part 1:             Income

 1. Gross revenue from business
      ✔     None

 2. Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not
     include revenue listed in line 1.

      ✔     None


 Part 2:             List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers including expense reimbursements to any creditor, other than regular employee compensation, within 90 days before filing this case unless the aggregate value of all property transferred to that creditor is less
     than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      ✔     None

 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or
     for the benefit of the insider is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
     Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
     agent of the debtor. 11 U.S.C. § 101(31)

      ✔     None

 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the
     seller. Do not include property listed in line 6

      ✔     None

 6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without permission or refused to make a payment at the debtor's
     direction from an account of the debtor because the debtor owed a debt

      ✔     None


 Part 3:             Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity-within 1 year before filing this case

      ✔     None

 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this
     case

      ✔     None


 Part 4:             Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value​ of the gifts to that recipient is less than $1,000
      ✔     None


 Part 5:             Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case


      ✔     None
Part 6:                Certain Payments or Case
                                           Transfers 25-10006-TMH                                      Doc 217                  Filed 02/14/25                         Page 22 of 25
11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another person or entity, including attorneys, that the debtor
     consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

      ✔     None

12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust or similar device. Do not include transfers already listed on
     this statement.



 ✔     None

13. Transfers not already listed on this statement
     List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2 years before the filing of this case to another person, other than property
     transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.



 ✔     None


Part 7:                Previous Locations

14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



 ✔     None


Part 8:                Health Care Bankruptcies

15. Health Care bankruptcies
     Is the debtor primarily engaged in offering services and facilities for:
     --- diagnosing or treating injury, deformity, or disease, or
     --- providing any surgical, psychiatric, drug treatment, or obstetric care?
      ✔    None

Part 9:                Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?
      ✔ No.
          Yes. State the nature of the information collected and retained.


17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other​ pension or profit-sharing plan made available by
    the debtor as an employee benefit?
      ✔ No. Go to Part 10
          Yes. Does the debtor serve as plan administrator?


Part 10:               Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold, moved, or transferred? Include checking, savings, money market, or other financial
     accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives, associations, and other financial institutions.



 ✔     None

19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.



 ✔     None

20. Off-premises storage
     List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does business.



 ✔     None


Part 11:               Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another


 ✔     None
                                          Case 25-10006-TMH                    Doc 217                   Filed 02/14/25      Page 23 of 25
Part 12:           Details About Environmental Information

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
       ✔ No.
         Yes. Provide details below


23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an​ environmental law?
       ✔ No.
         Yes. Provide details below


24. Has the debtor notified any governmental unit of any release of hazardous material?
       ✔ No.
         Yes. Provide details below


Part 13:           Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    None

                                                                   Describe the nature of the business                         Employer Identification number
         Business name and address
                                                                                                                               Do not include Social Security number or ITIN.



25.1    Ligado Networks (Canada) Inc.                                                                                         EIN: N/A
        Name                                                                                                                  Dates business existed
        1601 Telesat Court
                                                                                                                               From           Unknown                       To Present
        Street
        Ottawa                                     ON K18 1B9
        City                              State    ZIP Code
        Canada
        Country


26.      Books, records, and financial statements
         26a.List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.
                   None

         26a.1.
                    Name and address                                                                                                      Dates of service

                   Denise Bratcher
                                                                                                                                          From         02/11/2002               To Present
                   Name
                   10802 Parkridge Blvd
                   Street
                   Reston                                                   VA                               20191
                   City                                                     State                            ZIP Code


                   Country



         26a.2.
                    Name and address                                                                                                      Dates of service

                   Jennifer Gladwin
                                                                                                                                          From         09/25/1995               To Present
                   Name
                   10802 Parkridge Blvd
                   Street
                   Reston                                                   VA                               20191
                   City                                                     State                            ZIP Code


                   Country



         26a.3.
                    Name and address                                                                                                      Dates of service

                   Evangline Willis
                                                                                                                                          From         10/17/2011               To Present
                   Name
                   10802 Parkridge Blvd
                   Street
                   Reston                                                   VA                               20191
                   City                                                     State                            ZIP Code


                   Country
       26a.4.                               Case 25-10006-TMH                               Doc 217             Filed 02/14/25                Page 24 of 25
                     Name and address                                                                                                                       Dates of service

                  Nicole Landriault
                                                                                                                                                            From        02/12/1991            To Present
                  Name
                  1601 Telesat Court
                  Street
                  Ottawa                                                                ON                          K1B 1B9
                  City                                                                  State                       ZIP Code
                  Canada
                  Country


       26b.List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement within 2 years before filing
       this case.
         ✔           None

       26c.List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.
         ✔           None

       26d.List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement within 2 years before
       filing this case.
                None


         26d.1.
                      Name and address

                     See Global Notes
                     Name


                     Street


                     City                                                                State                      ZIP Code


                     Country



27. Inventories
    ✔ No.
       Yes. Give the details about the two most recent inventories.


28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the debtor at the time of the
    filing of this case.

    Name                                                               Address                                                  Position and nature of any interest                  % of interest, if any


   Doug Smith                                                         10802 Parkridge Blvd, Reston, VA, 20191                  President & Chief Executive Officer


   Eric Harrington                                                    10802 Parkridge Blvd, Reston, VA, 20191                  Chief Financial Officer and Director


   Vicky McPherson                                                    10802 Parkridge Blvd, Reston, VA, 20191                  Secretary


   Brendan Boughton                                                   10802 Parkridge Blvd, Reston, VA, 20191                  Senior Vice President, Finance & Treasurer


   Ligado Networks LLC                                                10802 Parkridge Blvd, Reston, VA, 20191                  Equity Owner                                          100%


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control​ of the debtor, or shareholders in control
    of the debtor who no longer hold these positions?
    ✔ No.
       Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    ✔ No.
       Yes. Identify below.


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
    ✔ No.
       Yes. Identify below.


32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
    ✔ No.
       Yes. Identify below.
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Part 14:         Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
      bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.

      I declare under penalty of perjury that the foregoing is true and correct

       Executed on                            02/14/2025
                                              MM / DD / YYYY


       /s/ Brendan Boughton                                                                          Printed name Brendan Boughton
       Signature of individual signing on behalf of the debtor


       Position or relationship to debtor                        Senior Vice President, Finance

      Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
       ✔ No
           Yes
